                                     Exhibit 6F
                       Plan Confirmation Factual Propositions




13-53846-tjt   Doc 6979-12   Filed 08/22/14   Entered 08/22/14 16:11:42   Page 1 of 14
   PLAN CONFIRMATION FACTUAL PROPOSITIONS
1. REVENUE PROJECTIONS ARE REASONABLE

       a. All material revenue streams are included in the Plan projections (Robert Cline (EY);
          Caroline Sallee (EY); John Hill (City))

                 i.   Income tax
                ii.   Property tax
               iii.   Casino tax
               iv.    State revenue sharing
                v.    Utility tax/ users taxes
               vi.    Fines and fees

       b. Revenue forecasts and assumptions reflected in the Plan projections are reasonable
          (Gaurav Malhotra (EY); Robert Cline (EY))

                 i. City is unable and it is impractical to raise taxes (Kevyn Orr (EM); Michael
                    Duggan (City); Robert Cline (EY); Caroline Sallee (EY))

                ii. State revenue sharing contributions are expected to be consistent with
                    assumptions in the Plan (Robert Cline (EY); Caroline Sallee (EY); Gaurav
                    Malhotra (EY))

               iii. Restructuring and reinvestment initiatives are reasonably expected to lead to
                    slightly increased revenues and decreased expenses over the next 10 years
                    (Gaurav Malhotra (EY); Charles Moore (Conway); John Hill (City); Michael
                    Duggan (City); Beth Niblock (City))

               iv. Plan projections are generally consistent with the City’s internal forecasts (John
                   Hill (City))

                v. The City reasonably expects to be able to obtain required exit financing (Gaurav
                   Malhotra (EY); Kenneth Buckfire (Miller Buckfire))




                                                 1
13-53846-tjt     Doc 6979-12         Filed 08/22/14   Entered 08/22/14 16:11:42      Page 2 of 14
2. FEASIBILITY (11 U.S.C. § 943(b)(7))

       a. The Plan projections present a realistic picture of the City’s ability to pay its expenses
          and obligations under the Plan and fund reinvestment and revitalization programs
          (Gaurav Malhotra (EY); John Hill (City); Michael Duggan (City))

                i. City is able to fund normal municipal operations and provide adequate services
                   post-confirmation (Gaurav Malhotra (EY); John Hill (City); Michael Duggan
                   (City); Brenda Jones (City); Rip Rapson (Kresge); Dan Gilbert (Rock
                   Ventures); Roger Penske (Penske Corp.))
                       1. The City’s restructuring and reinvestment initiatives are necessary:
                               a. Blight (Kevyn Orr (EM); Michael Duggan (City); Rip Rapson
                                   (Kresge); Dan Gilbert (Rock Ventures))
                               b. Public Safety (Police, Fire, EMS) (Kevyn Orr (EM); Michael
                                   Duggan (City); James Craig (City))
                               c. Finance (John Hill (City))
                               d. Information Technology (Beth Niblock (City))

               ii. City is able to also satisfy obligations under the Plan ( Gaurav Malhotra (EY);
                   John Hill (City); Michael Duggan (City))
                       1. Grand Bargain facilitates payment of City’s pension obligations (Kevyn
                           Orr (EM); John Hill (City); Gaurav Malhotra (EY))
                       2. City’s restructured legacy costs are reasonable and manageable (Gaurav
                           Malhotra (EY); John Hill (City); Glenn Bowen (Milliman))
                       3. City can afford to issue new B-notes to non-pension unsecured creditors
                           (Gaurav Malhotra (EY); John Hill (City))
                       4. The City can afford exit financing (Gaurav Malhotra (EY); Kenneth
                           Buckfire (Miller Buckfire))

       b. Plan is likely to be sustainable for the long-run (Michael Duggan (City))

                i. Post-confirmation City governance is sustainable (Michael Duggan (City);
                   Brenda Jones (City))
                      1. The City will be subject to certain ongoing State oversight (Michael
                          Duggan (City); Brenda Jones (City))

               ii. Plan provides the City Council and Mayor with tools that were previously
                   unavailable to the City prior to the Chapter 9 Case to implement and build upon
                   revitalization efforts developed under the Plan (Michael Duggan (City); Brenda
                   Jones (City))

               iii. Community and business leaders have faith in the Plan and have planned
                    complementary projects to enhance the City’s reinvestment and restructuring
                    efforts (Rip Rapson (Kresge); Dan Gilbert (Rock Ventures); Roger Penske
                    (Penske Corp.))



                                             2
13-53846-tjt    Doc 6979-12      Filed 08/22/14     Entered 08/22/14 16:11:42         Page 3 of 14
               iv. Plan has been designed to work whether or not the City obtains access to the
                   capital markets in the near future, nevertheless, it is more likely than not that the
                   City will secure access to the capital markets, particularly for DWSD and other
                   special revenue secured debt, post-confirmation (John Hill (City); Kenneth
                   Buckfire (Miller Buckfire))




                                              3
13-53846-tjt    Doc 6979-12       Filed 08/22/14     Entered 08/22/14 16:11:42         Page 4 of 14
3. REASONABLENESS OF FED. R. BANKR. P. 9019 SETTLEMENTS
   IN THE PLAN

       a. Settlements in the Plan are: (1) fair, equitable and reasonable settlements of complex
          issues; (2) are agreements reached in mediation supervised by distinguished judicial
          officers and thus should be presumed to be the product of good faith arm’s length
          bargaining; (3) further the policies and purposes of chapter 9; and (4) are in the best
          interests of the City, its creditors and all other parties in interest. (Kevyn Orr (EM))

                i. UTGO Settlement (Kevyn Orr (EM); Gaurav Malhotra (EY))
                     1. The City will establish the range of reasonableness
                     2. The product of the UTGO Settlement is within the range of reasonableness
                        in that it provides economic benefit (preservation of ad valorem taxes) to
                        the City

               ii. OPEB Settlement (Kevyn Orr (EM); Gaurav Malhotra (EY); Suzanne
                   Taranto (Milliman))
                      1. The City will establish the range of reasonableness
                      2. The product of the OPEB Settlement is within the range of reasonableness
                         in that it is between the parties’ respective litigation positions and
                         represents a fair compromise of the factual and legal arguments

               iii. Grand Bargain Settlement (Kevyn Orr (EM); Michael Duggan (City); Rip
                    Rapson (Kresge); Dan Gilbert (Rock Ventures); Roger Penske (Penske
                    Corp.); Vanessa Fuco (Christie’s); [DIA])
                       1. Foundation and DIA Contributions in Exchange for Settling City’s DIA
                           Ownership Claims
                              a. The City will establish the range of reasonableness
                              b. Christie’s valuation and State AG opinion informs the range of
                                 reasonableness; the City is currently seeking expert evaluation of
                                 value of the entire collection
                              c. Values contributed by State, DIA, Foundations and unions falls
                                 within the range of reasonableness
                              d. Preserves cultural asset of the City that also provides economic
                                 benefit and provides the City with a unique and practical
                                 opportunity to obtain significant value from third parties on
                                 account of its interest in the collection
                       2. State Contribution in Exchange for Release of Claims
                              a. The consideration provided by the State is reasonable in view of
                                 the scope of releases
                              b. Legislation and other conditions precedent that must be satisfied
                                 by the time of confirmation are on track to be satisfied (e.g. recent
                                 passage of contribution legislation by the Michigan House of
                                 Representatives



                                             4
13-53846-tjt    Doc 6979-12      Filed 08/22/14     Entered 08/22/14 16:11:42        Page 5 of 14
4. BEST INTERESTS (11 U.S.C. § 943(b)(7) / FAIR AND EQUITABLE
   (11 U.S.C. § 1129(b)(1))

       a. There is no requirement to sell City assets, whether assets are characterized as core or
          non-core (Kevyn Orr (EM))

       b. DIA is a “core” asset (Kevyn Orr (EM); [DIA])
              i. The DIA provides an economic contribution to the City (Kevyn Orr; [State];
                 [DIA]; Rip Rapson (Kresge))
             ii. The DIA provides a cultural contribution to the City ([DIA])

       c. Creditors are receiving all they can reasonably expect under the circumstances (Kevyn
          Orr (EM); Gaurav Malhotra (EY))

       d. No creditor will do better outside chapter 9 (Gaurav Malhotra (EY); Kenneth Buckfire
          (Miller Buckfire))

       e. City is unable and it is impractical to raise taxes (Kevyn Orr (EM); Michael Duggan
          (City); Robert Cline (EY); Caroline Sallee (EY))

       f. Restructuring and reinvestment initiatives help the City provide adequate levels of
          municipal services (Kevyn Orr (EM); Charles Moore (Conway); Michael Duggan
          (City); Brenda Jones (City); Beth Niblock (City); Rip Rapson (Kresge); Dan Gilbert
          (Rock Ventures); Roger Penske (Penske Corp.))

                i. The needs City’s residents are legitimately given priority over payment of debts
                   (Kevyn Orr (EM); Michael Duggan (City); Brenda Jones (City); Rip Rapson
                   (Kresge); Dan Gilbert (Rock Ventures); Roger Penske (Penske Corp.))

                ii. The City’s reinvestment initiatives are necessary to provide adequate levels of
                    municipal services, helping to stabilize declining population and are primarily
                    devoted to the following (Kevyn Orr (EM); Charles Moore (Conway);
                    Michael Duggan (City); Brenda Jones (City); John Hill (City); Beth Niblock
                    (City); Rip Rapson (Kresge); Dan Gilbert (Rock Ventures); Roger Penske
                    (Penske Corp.))
                       1. Blight
                       2. Public Safety (Police, Fire, EMS)
                       3. Finance
                       4. Information Technology
               iii. The City’s restructuring and reinvestment initiatives cannot be achieved with less
                    money (Kevyn Orr (EM); Charles Moore (Conway); Michael Duggan (City))

       g. DWSD-related issues are treated fairly (Sue McCormick (DWSD); Kenneth Buckfire
          (Miller Buckfire))
              i. The modification to the DWSD-related bond claims are fair and equitable
             ii. DWSD is in need of capital improvements

                                             5
13-53846-tjt    Doc 6979-12      Filed 08/22/14     Entered 08/22/14 16:11:42        Page 6 of 14
5. RESET OF DWSD INTEREST RATES IS CONSISTENT WITH
   REQUIREMENTS OF BANKRUPTCY CODE SECTION 1129(b)

       a. Proposed interest rates for impaired issues of DWSD-debt give holders payments having
          a present value equal to the allowed amount of their claims (Kenneth Buckfire (Miller
          Buckfire))

       b. No liens have been modified
              i. The payments to GRS are operating and maintenance expenses

       c. Modification of call protection is appropriate and does not result in any additional
          allowed claims




                                            6
13-53846-tjt   Doc 6979-12      Filed 08/22/14     Entered 08/22/14 16:11:42        Page 7 of 14
6. NO UNFAIR DISCRIMINATION (11 U.S.C. § 1129(b)(1))

       a. The Plan provides an augmented recovery for pensioners while respecting the
          Bankruptcy Code's prohibition against unfair discrimination between creditor classes
          (Kevyn Orr (EM); Michael Duggan (City))

       b. The Plan’s distributions on account of pension claims are, in part, made up with non-
          debtor contributions
              i. State contribution funds are not the City’s funds and would not otherwise be
                 available to the City (Kevyn Orr (EM); Rip Rapson (Kresge); [DIA]; Dan
                 Gilbert (Rock Ventures); Roger Penske (Penske Corp.))

               ii. Foundations and DIA funds are not the City’s funds and would not otherwise be
                   available to the City (Kevyn Orr (EM); [DIA]; Dan Gilbert (Rock Ventures);
                   Roger Penske (Penske Corp.))

               iii. The Plan’s distribution percentages should be regarded as lower than calculated
                    based on settlement assumption of 6.75%; the remaining difference in treatment is
                    justified by the unique aspects of pension claims (Charles Moore (Conway);
                    Glenn Bowen (Milliman))

               iv. Purpose of chapter 9 is to help municipalities restore adequate services, and
                   funding pensions over bondholders will further facilitate this purpose (Kevyn Orr
                   (EM); Michael Duggan (City); Brenda Jones (City); Charles Moore
                   (Conway); John Hill (City))

               v. Providing better treatment to pensioners will promote relationships with those
                  whose ongoing cooperation is vital to the City’s recovery (Kevyn Orr (EM);
                  Michael Duggan (City); Brenda Jones (City); Rip Rapson (City))

               vi. Comparative harm to individuals versus institutions (Kevyn Orr (EM); Michael
                   Duggan (City))




                                            7
13-53846-tjt    Doc 6979-12      Filed 08/22/14    Entered 08/22/14 16:11:42       Page 8 of 14
7. PROPOSED IN GOOD FAITH (11 U.S.C. § 1129(a)(3))

       a. Good faith should be measured based on the totality of the circumstances (All City
          Witnesses)

                i. Settlements were achieved with numerous and distinct parties (e.g., secured v.
                   unsecured; labor v. non-labor; individuals v. institutions)

               ii. General consensus among all the parties is that the City is in need of reinvestment
                   and restructuring

               iii. The Plan requires shared sacrifices from all interested parties

               iv. Mediated settlements included in Plan have to be presumed to be in good faith




                                              8
13-53846-tjt    Doc 6979-12       Filed 08/22/14     Entered 08/22/14 16:11:42        Page 9 of 14
8. DWSD-RELATED ISSUES

      a. The DWSD pension funding proposed under the Plan is lawful (Glenn Bowen
         (Milliman))

      b. The Plan’s allocation of proceeds from a potential DWSD transaction is lawful (Gaurav
         Malhotra (EY); John Hill (City))




                                         9
13-53846-tjt   Doc 6979-12     Filed 08/22/14 Entered 08/22/14 16:11:42        Page 10 of
                                           14
9. ALTERNATIVE SAVINGS FUND RECOUPMENT

      a. Explanation of program and its impact (Charles Moore (Conway))

      b. Explanation of how the City determined its calculations and caps (Charles Moore
         (Conway); Glenn Bowen (Milliman))




                                        10
13-53846-tjt   Doc 6979-12     Filed 08/22/14 Entered 08/22/14 16:11:42        Page 11 of
                                           14
10.      NONCONSENSUAL THIRD PARTY RELEASES

      a. The City has identified “unusual circumstances” that satisfy some or all of the seven
         factors identified in Class Five Nev. Claimants v. Dow Corning Corp. (In re Dow
         Corning Corp.), 280 F.3d 648, 658 (6th Cir. 2002) (Kevyn Orr (EM))

               i. The failure to obtain approval of and effect the release, injunction, exculpation
                  and discharge provisions of the Plan would seriously impair the City’s ability to
                  confirm the Plan (Kevyn Orr (EM))

               ii. The contributions and concessions by the third party releasees are an essential
                   component to the reorganization of the City and its future success and to the
                   feasibility of the Plan. (Kevyn Orr (EM))




                                            11
13-53846-tjt    Doc 6979-12       Filed 08/22/14 Entered 08/22/14 16:11:42           Page 12 of
                                              14
11.       36TH DISTRICT COURT

      a. Explanation of the City’s ownership of property related to and the financial relationship
         with the 36th District Court (Gaurav Malhotra (EY); John Hill (City)).




                                          12
13-53846-tjt   Doc 6979-12      Filed 08/22/14 Entered 08/22/14 16:11:42           Page 13 of
                                            14
Will Call Witnesses

        1   Glenn        Bowen            Milliman
        2   Ken          Buckfire         Miller Buckfire
        3   Robert       Cline            EY
        4   James        Craig            Detroit Police Chief
        5   Michael      Duggan           Detroit Mayor
        6   Vanessa      Fuco             Christie's
        7   Dan          Gilbert          Rock Ventures
        8   John         Hill             Detroit Chief Financial Officer
        9   Brenda       Jones            City Council President
       10   Gaurav       Malhotra         EY
       11   Sue          McCormick        DWSD
       12   Charles      Moore            Conway MacKenzie
       13   Beth         Niblock          Detroit Chief Information Officer
       14   Kevyn        Orr              Detroit Emergency Manager
       15   Roger        Penske           Penske Corp.
       16   Rip          Rapson           Kresge
       17   Caroline     Sallee           EY
       18   Suzanne      Taranto          Milliman


Conditional Call Witness List

        1   Tonya        Allen            Skillman
        2   Graham       Beal             DIA
        3   Ryan         Bigelow          Retirement Systems' Chief Investment Officer
        4   Annmarie     Erickson         DIA
        5   Eugene       Gargano          DIA
        6   Edsel        Jenkins          Detroit Executive Fire Commissioner
        7   Susan        Mosey            DIA-related
        8   Michael      Paque            KCC
        9   Marc         Schwartz         DIA-related
       10   Cynthia      Thomas           Retirement Systems' Administrator
       11   Peter        Walsh            KCC




                                             13
    13-53846-tjt      Doc 6979-12    Filed 08/22/14 Entered 08/22/14 16:11:42       Page 14 of
                                                 14
